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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                              MARSHALL DIVISION

  SEAGEN INC., §

               Plaintiff, §
                                              §
  v. § CIVIL ACTION NO. 2:20-CV-00337-JRG

  DAIICHI SANKYO CO., LTD., §
                                              §
               Defendant, §
                                              §
  ASTRAZENECA PHARMACEUTICALS §
  LP, and ASTRAZENECA UK LTD §

               Intervenor-Def ndants. §


                                 VERDICT FORM

       In answering the following questions and completing this Verdict Form, you

 are to follow all the instructions that I have given you in the Court s Final Jury

 Instructions. Your answers to each question must be unanimous. Some of the

 questions contain legal terms that are defined and explained in detail in the Final

 Jury Instructions. You should refer to and consider the Final Jury Instructions as you

 answer the questions in this Verdict Form.
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       As used herein, the following terms have the following meanings:



     Plaintiff or Seagen refers to Seagen Inc.

    “Daiichi Sankyo or “DSC refers to Daiichi Sankyo Company, Limited.

     AstraZeneca or AZ refers collectively to AstraZeneca Pharmaceutical LP
    and AstraZeneca UK Ltd.

    “Defendants” refers collectively to DSC and AZ

    The “ 039 Patent” refers to U.S. Patent No. 10,808,039.

    The “Asserted Claims” refers collectively to Claims 1 through 5, 9, and 10 of
    the 039 Patent.




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       IT IS VERY IMPORTANT THAT YOU FOLLOW THE
      INSTRUCTIONS PROVIDED IN THIS VERDICT FOR




     READ THEM CAREFULLY AND ENSURE THAT YOUR
                 VERDICT COMPLIES WITH THEM




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 QUESTION NO. 1


 Did Seagen, the Plaintiff, prove by a preponderance of the evidence that Defendant

 DSC, infringed ANY of the Asserted Claims?




       Yes:                     No:




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 QUESTION NO. 2

 Did DSC and AZ, the Defendants, prove by clear and convincing evidence that any

 of the following Asserted Claims are invalid?



       For each claim below, please answer Yes or “No .



       Claim 1 of the 039 Patent:            Yes:       No: V

       Claim 2 of the 039 Patent:            Yes:         No: V

       Claim 3 of the ’039 Patent:           Yes:         No:

       Claim 4 of the ’039 Patent:           Yes:          N o:

       Claim 5 of the ’039 Patent:           Yes:         No: v

       Claim 9 of the ’039 Patent:           Yes:       N o: F

       Claim 10 of the ’039 Patent:          Yes:         No:




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 If you answered NO to Question No, 1, OR YES to ALL Asserted Claims
 in Question No. 2, then DO NOT answer Question No. 3.

 Answer Question No, 3 ONLY as to any Asserted Claim that you have found
 BOTH to be infringed AND not invalid.


 QUESTION NO, 3



 Did Seagen, the Plaintiff, prove by a preponderance of the evidence that Defendant

 DSC willfully infringed ANY of the Asserted Claims that you found were infringed?


       Yes:               No:




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 If you answered NO to Question No. 1, OR YES to ALL Asserted Claims
 in Question No. 2, then DO NOT answer Question No. 4.

 Answer Question No. 4 ONLY as to any Asserted Claim that you have found
 BOTH to be infringed AND not invalid.


 QUESTION NO. 4


 What sum of money, if paid now in cash, has Seagen, the Plaintiff, proven by a

 preponderance of the evidence would compensate it for its damages for infringement

 from October 20, 2020 through March 31, 2022?


 Answer in United States Dollars and Cents, if any:




       $ 8 <9;                                 o             (9Q




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                FINAL PAGE OF THE JURY VERDICT FORM

 You have now reached the end of the Verdict Form and should review it to ensure that

 it accurately reflects your unanimous determinations. The Jury Foreperson should then

 sign and date the Verdict Form in the spaces below. Once this is done, notify the Court

 Security Officer that you have reached a verdict. The Jury Foreperson should keep the

 Verdict Form and bring it when the jury is brought back into the courtroom.



 Signed this    8     day of April 2022.




                                   Jury Foreperson




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